Case: 2:10-cv-00624-EAS-TPK Doc #: 1 Filed: 07/09/10 Page: 1 of 4 PAGEID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

ENTEC POLYMERS, LLC                        )   Case No. 10-624
1900 Summit Tower Blvd.                    )
Suite 900                                  )   Hon._______________________
Orlando, FL 32810,                         )
                                           )
and                                        )   COMPLAINT
                                           )
CHANNEL PRIME ALLIANCE, LLC                )   Peter R. Silverman (0001579)
401 Market Street                          )   Karen S. Hockstad (0061308)
Philadelphia, PA 19106,                    )   SHUMAKER, LOOP & KENDRICK, LLP
                                           )   1000 Jackson Street
                 Plaintiffs,               )   Toledo, Ohio 43604-5573
                                           )   Telephone: (419) 241-9000
        v.                                 )   Facsimile: (419) 241-6894
                                           )   E-mail:      psilverman@slk-law.com
CAMBRIDGE TOOL & DIE CORP.                 )                khockstad@slk-law.com
c/o Cheryl Lowery, Statutory Agent         )
6820 Manila Road                           )   Attorneys for Plaintiffs
Cambridge, OH 43725,                       )
                                           )
                 Defendant.                )

                                        * * *

        Plaintiffs, Entec Polymers, LLC and Channel Prime Alliance, LLC, for its

complaint against Cambridge Tools (“Cambridge”), states:

        1.       This is an action to collect funds that Defendant, Cambridge Tool &

Die Corp. (“Cambridge”), owes Entec Polymers, LLC (“Entec”) and Channel

Prime Alliance, LLC (“Channel Prime”) for Cambridge’s purchase of plastic resin

from Entec and Channel Prime.

SLK_TOL: #1757576v1
Case: 2:10-cv-00624-EAS-TPK Doc #: 1 Filed: 07/09/10 Page: 2 of 4 PAGEID #: 2




                                     PARTIES

       2.     Entec is a Florida limited liability company with its principal place

of business in Orlando, Florida. Entec’s sole member, Ravago Holdings America,

Inc. (“Ravago”), which is a Delaware corporation with its principal place of

business in Florida.

       3.     Channel Prime is a limited liability company registered in Delaware

with its principal place of business in Norwalk, Connecticut. It has two members.

One is Muehlstein LLC, which is limited liability company registered in Delaware,

with its principal place of business in Connecticut.        Muehlstein, LLC’s sole

member is Muehlstein Holding Corp. which is incorporated in Delaware and has

its principal place of business in Connecticut. Channel Prime’s other member is

Muehlstein & Co., Inc., which is incorporated in New York and with its principal

place of business in Connecticut.

       4.     Entec and Channel Prime are affiliated companies; Entec is a direct

subsidiary of Ravago, and Channel Prime is an indirect subsidiary of Ravago.

       5.     Cambridge is, upon information and belief, a corporation organized

in the State of Ohio with its principal place of business in Cambridge, Ohio.

                                 JURISDICTION

       6.     Pursuant to 28 U.S.C. §1332(a) and 1367, this court has subject

matter jurisdiction because:

              (a) this dispute is between citizens of different States;

              (b) the matter in controversy with Entec exceeds the sum or value

of $75,000, exclusive of interest and costs;




                                          2
Case: 2:10-cv-00624-EAS-TPK Doc #: 1 Filed: 07/09/10 Page: 3 of 4 PAGEID #: 3




              (c) Entec’s and Channel Prime’s claims arise out of same case or

controversy, and Channel Prime’s claims are so related to Entec’s claims that they

form part of the same case or controversy.

       7.     Pursuant to 28 U.S.C. §1391 (1) and (2), venue is proper because

this is the judicial district in which Cambridge resides and in which a substantial

part of the events giving rise to the claim occurred.

                                       CLAIM

       8.     On December 2009, and January 2010, Channel Prime shipped

polymer resin to Cambridge. The price for the resin, as reflected on the invoices

attached as Exhibit A, is $24,790.

       9.     Channel Prime has demanded that Cambridge pay the invoices, but

Cambridge has refused.

       10.    From October to December 2009, Entec sold polymer resin to

Cambridge. The price of the orders, as reflected on the invoices attached as

Exhibit B, was $140,149.56.

       11.    Entec has demanded that Cambridge pay the invoices, but

Cambridge has refused.

       12.    Paragraph 9 of Channel Prime’s terms and conditions provides:

“Buyer agrees to indemnify Seller for all costs, including collection and attorneys’

fees, associated with the enforcement of this sales contract. Interest on unpaid

balances shall accrue at the lesser of 1.5% per month or the highest rate permitted

by law.” Accordingly, Channel Prime is entitled to recover its costs, including

attorneys’ fees, and is entitled to interest at the rate of 1.5% per month.




                                          3
Case: 2:10-cv-00624-EAS-TPK Doc #: 1 Filed: 07/09/10 Page: 4 of 4 PAGEID #: 4




       13.     Under Entec’s terms and conditions of sale, the paragraph entitled,

“Cost of Collections,” provides: “Any cost incurred by Seller for the collection of

any amounts due on this account, including but not limited to, attorneys’ fees and

court costs, shall be born by the Buyer.” Accordingly, Cambridge is liable for

Entec’s attorneys’ fees and costs.

       14.     Cambridge has breached its contracts with Channel Prime and

Entec, and Channel Prime and Entec are entitled to collect all amounts owed,

plus interest at the contractual amount, and attorney fees.

       15.     Cambridge also owes these amounts on account.        The accounts

stated are included as parts of Exhibits A and B.

       REMEDY REQUESTED: Entec and Channel Prime respectfully request

that Cambridge be found liable to Channel Prime for $24,790, plus the costs,

including attorneys’ fees of this case, plus prejudgment interest of 1.5% per

month; that Cambridge be found liable to Entec for $140,149.56, plus the costs,

including attorneys’ fees, of this action, plus prejudgment interest; and any

further relief as is just.


                                         /s/ Peter R. Silverman
                                         Peter R. Silverman
                                         SHUMAKER, LOOP & KENDRICK, LLP

                                         Attorneys for Plaintiffs

Date: July 9, 2010




                                         4
